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|N THE UN|TED STATES D|STR|CT COCUF¥T ' \SL/
FOF{ THE WESTEHN D|STRICT OF TENI}|E§§EE`F p§?_; 31
WESTEF{N DlV|SlON

 

 

UN|TED STATES OF AlVlEFt|CA
P|aintiff

VS.
CR. NO. 05-2022`1-B

|V|ARK A. TAYLOH,

Defendant.

 

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AND SETT|NG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 With a
Eg)rt date of Nlondav. September 26. 2005. at 9:30 a.m., in Courtroom 1, ‘l 1th F|oor
ot the Federa| Bui|ding, lVlemphis, TN.

The period from August 12, 2005 through October 14, 2005 is excludable under

18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional

time to prepare outweigh the need for a sp edy tria|.
iT is so oRDEFiED this / skday§>`@j 2005.

dba

J. D N|EL BREEN
UN| ED STATES D|STRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20221 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

